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                           IN THE UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

IN RE:                                                 :    CHAPTER 7
                                                       :
BILAL RASHEED,                                         :    CASE NO. 21-57413-JWC
                                                       :
         Debtor.                                       :
                                                       :
                                                       :
NATIONSTAR MORTGAGE LLC D/B/A MR.                      :    CONTESTED MATTER
COOPER,                                                :
                                                       :
         Movant.                                       :
                                                       :
vs.
                                                       :
BILAL RASHEED,
S. GREGORY HAYS, Trustee                               :
                                                       :
         Respondents.                                  :

              NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY


         PLEASE TAKE NOTICE that NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER has
         filed a Motion for Relief from Stay and related papers with the Court seeking an order modifying
         the automatic stay.

         PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic hearing for
         announcements on the Motion at the following number: (toll-free number: 833-568-8864;
         meeting ID 160 459 5648), at 10:00 a.m. on November 18, 2021 in Courtroom 1203, United
         States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303.

         Matters that need to be heard further by the Court may be heard by telephone, by video
         conference, or in person, either on the date set forth above or on some other day, all as
         determined by the Court in connection with this initial telephonic hearing. Please review the
         “Hearing Information” tab on the judge’s webpage, which can be found under the “Dial-in and
         Virtual Bankruptcy Hearing Information” link at the top of the webpage for this Court,
         www.ganb.uscourts.gov for more information.

         Your rights may be affected by the court’s ruling on these pleadings. You should read these
         pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case.
         (If you do not have an attorney, you may wish to consult one.) If you do not want the court to
         grant the relief sought in these pleadings or if you want the court to consider your views, then you
         and/or your attorney must attend the hearing. You may also file a written response to the pleading
         with the Clerk at the address stated below, but you are not required to do so. If you file a written
         response, you must attach a certificate stating when, how and on whom (including addresses) you
         served the response. Mail or deliver your response so that it is received by the Clerk at least two
         business days before the hearing. The address of the Clerk's Office is Clerk, U. S. Bankruptcy
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      Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also mail a copy of
      your response to the undersigned at the address stated below.

      If a hearing on the motion for relief from the automatic stay cannot be held within thirty (30)
      days, Movant waives the requirement for holding a preliminary hearing within thirty days of
      filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
      automatic stay remaining in effect until the Court orders otherwise.


      Dated this:   10/14/2021



                                               /s/Heather D. Bock
                                               Heather D. Bock, GA BAR NO. 122806
                                               Attorney for Movant
                                               McCalla Raymer Leibert Pierce, LLC
                                               1544 Old Alabama Road
                                               Roswell, Georgia 30076
                                               678-281-6444
                                               Heather.Bock@mccalla.com
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                                    ) CHAPTER 7
                                                          )
BILAL RASHEED,                                            ) CASE NO. 21-57413-JWC
                                                          )
         Debtor.                                          )
                                                          )
                                                          )
NATIONSTAR MORTGAGE LLC D/B/A MR.                         ) CONTESTED MATTER
COOPER,                                                   )
                                                          )
         Movant.                                          )
                                                          )
vs.                                                       )
BILAL RASHEED,                                            )
S. GREGORY HAYS, Trustee                                  )

         Respondents.


                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         COMES NOW Movant and shows this Court the following:

                                                  1.

         This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

automatic stay for all purposes allowed by law and the contract between the parties, including,

but not limited to, the right to foreclose on certain real property.

                                                  2.

         Movant is the servicer of a loan secured by certain real property in which Debtor claims

an interest. A copy of the Security Deed is attached hereto and made a part hereof. Said real

property is security for a promissory note, and is commonly known as 4523 Boxwood Trail,

Ellenwood, Georgia 30294 (the “Property”).
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                                                3.

       Attached are redacted copies of any documents that support the claim, such as promissory

notes, purchase order, invoices, itemized statements of running accounts, contracts, judgments,

mortgages, and security agreements in support of right to seek a lift of the automatic stay and

foreclose if necessary.

                                                4.

       Debtor is in default of the monthly installments pursuant to the terms of the Note. As of

October 6, 2021, Debtor is delinquent for thirty-two (32) payments (March 2019 – October

2021) totaling $40,256.43 in arrears, pursuant to the terms of the Note.

                                                5.

       As of October 6, 2021, the unpaid principal balance is $184,848.38, and interest is due

thereon in accordance with the Note and the total estimated payoff is $222,772.35.

                                                6.

       Because of Debtor's default and clear inability to make all required payments, Movant is

not adequately protected and shows that there is cause for relief from the automatic stay.

                                                7.

       Because the Security Deed so provides, Movant is entitled to its attorney's fees.

                                                8.

       Movant requests it be permitted to contact the Debtor via telephone or written

correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements.
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       WHEREFORE, Movant prays (1) for an Order modifying the automatic stay, authorizing

Movant, its successors and assigns, to proceed with the exercise of its private power of sale and

to foreclose under its Security Deed and appropriate state statutes; (2) for an award of reasonable

attorney’s fees; (3) that Movant, at its option, be permitted to contact the Debtor via telephone or

written correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements; (4) for waiver of Bankruptcy Rule

4001 (a)(3); and (5) for such other and further relief as is just and equitable.


                                               /s/Heather D. Bock
                                               Heather D. Bock, Georgia BAR NO. 122806
                                               Attorney for Movant
                                               McCalla Raymer Leibert Pierce, LLC
                                               1544 Old Alabama Road
                                               Roswell, Georgia 30076
                                               678-281-6444
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                                            CHAPTER 7

                                 CERTIFICATE OF SERVICE

      I, Heather D. Bock, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, Georgia 30076-2102, certify:

        That on the date below, I served a copy of the within NOTICE OF ASSIGNMENT OF
HEARING, together with the MOTION FOR RELIEF FROM THE AUTOMATIC STAY filed in
this bankruptcy matter on the following parties at the addresses shown, by regular United States
Mail, postage prepaid, unless another manner of service is expressly indicated:

Bilal Rasheed, Pro Se Debtor
2260 Fairburn Road SW #311515
Atlanta, GA 30331


S. Gregory Hays, Trustee                    (served via ECF notification)
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:    10/14/2021       By:    /s/Heather D. Bock
                    (date)              Heather D. Bock Georgia BAR NO. 122806
                                        Attorney for Movant
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